UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

West Palm Beach Division
www.flsb.uscourts. gov

In re: Case No. 19-13729-MAM

Chapter 1 1
RENAISSANCE HEALTH PUBLISHING, LLC
D/B/A RENOWN HEALTH PRODUCTS,

Debtor.
/

CERTIFICATE OF SERVICE

[ HEREBY CERTIFY that true and correct copies of the following documents were

served on all parties listed below in the manner and dates indicated.

[ECF 134] Motion for Extension of Time to File Objections to Claims

[ECF 135] Summary of Final Fee Application of Furr Cohen, P.A., Attorneys for
the Chapter 11 Debtor, Renaissance Health Publishing , LLC d/b/a/ Renown
Health Products

[ECF 136] Summary of Final Fee Application of SRIPLAW, P.A., for
Allowance of Compensation and Reimbursement of Expenses Incurred for the
Time Period of May 1, 2019 through December 20, 2019

[ECF 140] Notice of Hearing on Final Application for Compensation for Aaron
A. Wernick, Attorney-Debtor, Period: 3/22/2019 to 12/31/2019, Fee: $118705.00,

Expenses: $4442.35 and Final Application for Compensation for Joel Rothman,

Special Counsel, Period: 5/1/2019 to 12/20/2019, Fee: $9520.00, Expenses:
$197.50

[ECF 141] Notice of Hearing on Motion to Extend Time to File Objections to
Claims Filed by Debtor Renaissance Health Publishing, LLC

Dated: January 3,2020

Furr Cohen, PA

Attorneys for Debtors

2255 Glades Road, Suite 301E
Boca Raton, Florida 33431

(561)395-0500/(561)338-7532- fax
By: /s/Aaron A. Wernick

Aaron A. Wernick, Esquire

FL Bar No.: 14059

E-mail: awernick@furrcohen.com

 

SERVED VIA CM/ECF NOTICE ON:
[ECF #134, ECF #135, ECF #36 ON 12/31/2019]
[ECF #140, ECF # 141 ON 1/3/2020]

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e Office of the US Trustee USTPRegion21.MM.ECF@usdo}.gov

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e Aaron A Wernick  awernick@furrcohen.com,
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m

SERVED BY US MAIL ON 1/3/2020 [ECF #134, ECF #135, ECF # 136, ECF # 140
ECF #141]

All creditors and parties on the attached Official Court Matrix, except those receiving
CM/ECF notice.

American Express Travel Related Services Company, Inc.
c/o Becket and Lee LLP

PO Box 3001
Malvern, PA 19355-0701

Joel Rothman
21301 Powerline Rd #100
Boca Raton, FL 33433

Steve Silver

Topel & Silver

29 Plaza Nine
Manalapan, NJ 07726
Label Matrix for local noticing
113C-9

Case 19-13729-MAM

Southern District of Florida
West Palm Beach

Fri Jan 3 16:05:57 EST 2020

EIN CAP, Inc,

c/o Bradley S$. Shraiberg, Esq.
2385 NW Executive Center Dr., #300
Boca Raton, FL 33431-8530

Natural Health News Report, LLC
2424 N. Federal Highway

Suite 401

Boca Raton, FL 33431-7747

American Computer Group
4665 S$ Ash Ave

Ste G-10

Tempe, AZ 85282-6765

Bella Management LLC

2424 N Federal Hwy

Ste 401

Boca Raton, FL 33431-7747

EIN Cap, Inc.

c/o Bradley S. Shraiberg, Esq.
Shraiberg, Landau & Page, P.A.
2385 NW Executive Center Dr., #300
Boca Raton, FL 33431-8530

FinnCom, Inc.
43416 Honeybee Lane
Lancaster, CA 93536-5531

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

Office of the US Trustee
51 S.W. Ist Ave.

Suite 1204

Miami, FL 33130-1614

RSVP Direct, Inc
1401 Kirk St
Elk Grove Village, IL 60007-6744

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American Express Travel Related Services Com

c/o Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701

(p) FEDERAL TRADE COMMISSION
ASSOCIATE DIRECTOR
DIVISION OF ENFORCEMENT

600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122

WASHINGTON DC 20580-0001

Renaissance Health Publishing, LLC
2424 N. Federal Highway

Suite 401

Boca Raton, FL 33431-7747

American Express
PO Box 360001
Ft Lauderdale, FL 33336-0001

EBF Partners, LLC dba Everest Business Fundi

8200 NW 52nd Terrace, Suite 200
Doral, FL 33166-7852

(p) EVEREST BUSINESS FUNDING LLC
8200 NW 52ND TERR

SECOND FLOOR
DORAL FL 33166-7852

Florida Department of Revenue

5050 West Tennessee Street
Tallahassee, FL 32399-0100

Internal Revenue Service
PO Box 7346

Philadelphia, PA 19101-7346

Palm Beach County Tax Collector
P.0. Box 3715
West Palm Beach, FL 33402-3715

Topel & Silver
29 Plaza 9
Manalapan, NJ 07726-3013

Atlas Acquisitions, LLC
Atlas Acquisitions LLC
294 Union St.

Hackensack, NJ 07601-4303

Finncom, Inc.
c/o Kelley, Fulton & Kaplan, P.L.
1665 Palm Beach Lakes Blvd
Suite 1000

West Palm Beach, FL 33401-2109

3PL Worldwide, Inc,
75 Aircraft Rd
Southington, CT 06489-1443

Atlas Acquisitions LLC
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Hackensack, NJ 07601-4303

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State of Florida

PL-01 The Capitol

Tallahassee, FL 32399-1050

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Doral, FL 33172-2753

U.S. Attorney's Office
500 S. Australian Ave. Ste. 400
W. Palm Beach, Fl. 33401-6209
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Vertiv Corporation VitaQuest International LLC
1050 Dearborn Dr 8 Henderson Dr

Columbus, OH 43085-1544 West Caldwell, NJ 07006-6608
Joel Rothman Steve Silver

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Boca Raton, FL 33433-2389 29 Plaza Nine

Manalapan, NJ 07726-3013

Aaron A Wernick

2255 Glades Rd # 301E
Boca Raton, FL 33431-7383

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Federal Trade Commission Everest Business Funding
c/o Katherine E Johnson 5 West 37th St

600 Pennsylvania Ave NW Ste 1100

Washington, DC 20580 New York, NY 10018

Internal Revenue Service (d) Internal Revenue Service
Department of the Treasury Insolvency Unit

RAIVS Team, Stop 91 POB 17167, STOP 5760

POB 47-421 Fort Lauderdale, FL 33318

Atlanta, GA 30362

(d)Federal Trade Commission

Division of Advertising Practices
c/o Sydney Knight, Esq.

600 Pennsylvania Avenue Rm. CC-10540
Washington, DC 20580

(d) Internal Revenue Service
Ogden, UT 84201-0005

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

(u)West Palm Beach (d) American Express Travel Related Services C
Inc,
c/o Becket and Lee LLP

PO Box 3001

Malvern PA 19355-0701

End of Label Matrix
Mailable recipients 34

Bypassed recipients 2
Total 36
